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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

       Plaintiff,
                                                22 Civ. 5187 (____)
       v.

META PLATFORMS, INC., f/k/a
FACEBOOK, INC.,

      Defendant.




            MEMORANDUM OF LAW IN SUPPORT OF JOINT MOTION FOR
              APPROVAL OF PROPOSED SETTLEMENT AGREEMENT



DAMIAN WILLIAMS                         Natalie Naugle
United States Attorney for the          Director and Associate General Counsel,
Southern District of New York           Litigation
                                        META PLATFORMS, INC.
ELLEN BLAIN                             181 Fremont Street
DAVID J. KENNEDY                        San Francisco, CA 94105
CHRISTINE S. POSCABLO                   nnaugle@fb.com
Assistant United States Attorneys
86 Chambers Street, 3rd Floor           Rosemarie T. Ring
New York, New York 10007                GIBSON, DUNN & CRUTCHER LLP
Tel.: (212) 637-2733                    555 Mission Street
david.kennedy2@usdoj.gov                San Francisco, CA 94105
                                        Tel.: (415) 393-8247
Counsel for the United States of        rring@gibsondunn.com
America
                                        Counsel for Meta Platforms, Inc.
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       Plaintiff United States of America (the “United States”), together with Defendant Meta

Platforms, Inc., f/k/a Facebook, Inc. (“Meta”), respectfully submit this memorandum of law in

support of their joint motion for approval of the proposed settlement agreement annexed hereto

as Exhibit A (the “Settlement Agreement”).


                                        BACKGROUND

I.     Allegations in the Complaint

       The allegations in the Complaint stem from an investigation by the Department of

Housing and Urban Development into Meta’s algorithmic delivery practices for housing ads. On

August 13, 2018, the Assistant Secretary for Fair Housing and Equal Opportunity filed a timely

administrative complaint with HUD alleging that Meta’s ad delivery system violated the Fair

Housing Act (“FHA”). (Compl. ¶ 96.) Based on HUD’s investigation of the administrative

complaint, the Secretary determined that there was reasonable cause to believe that Meta’s ad

delivery system discriminates on the basis of protected characteristics in violation of the FHA.

(Compl. ¶ 98.) On March 28, 2019, therefore, the Secretary issued a Charge of Discrimination

under 42 U.S.C. § 3610(g)(2), charging Meta with engaging in a discriminatory housing practice

in violation of the FHA. (Compl. ¶ 99.) On April 16, 2019, Meta timely elected to have the

charge decided in federal district court in accordance with 42 U.S.C. § 3612(a). (Compl. ¶ 100.)

Pursuant to that statute, where, as here, if an election is made, “the Attorney General shall

commence and maintain, a civil action.” 42 U.S.C. § 3612(o). Meta agreed to toll the statute of

limitations in which to file a complaint to June 21, 2022 (Compl. ¶ 101), and the parties have

spent over three years negotiating a proposed resolution.

       The Complaint alleges that Meta has violated the Fair Housing Act in three areas:
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       First, the Complaint alleges that until at least 2019, Meta enabled housing advertisers to

use Meta-created categories of characteristics to target or exclude Meta users from the audience

for an ad. Some of those categories are alleged to be based on users’ FHA-protected

characteristics. Meta made certain changes to this aspect of its ad delivery system in September

2019 as part of settling FHA claims brought by private parties in this Court. See National Fair

Housing Alliance, et al. v. Facebook, Inc., 18 Civ. 02689 (JGK) (S.D.N.Y.) (“NFHA Lawsuit”).

(Compl. ¶¶ 3, 42-61.)

       Second, the Complaint alleges that Meta invites advertisers to use its proprietary tool

called “Lookalike Audiences,” which was modified in 2019 for housing ads into a new tool

called “Special Ad Audiences.” The Complaint alleges that when an advertiser selects this tool,

Meta uses a machine-learning algorithm to construct audiences for housing ads based in part

upon FHA-protected characteristics. (Compl. ¶¶ 4, 62-72.)

       Third, the Complaint alleges that Meta designed and implemented certain algorithms to

predict which Meta users will be most likely to interact with an ad. The Complaint alleges that

when a particular characteristic, including FHA-protected characteristics, is predictive of user

engagement with an ad, the algorithms are designed to determine to which users to deliver an ad

based, in part, on that characteristic. (Compl. ¶¶ 5, 73-94.)

       Meta denies liability and any and all wrongdoing alleged relating to its provision of

targeting options and delivery processes for housing advertisements on any of its platforms.

Meta disputes the application of the FHA to Meta with respect to the conduct alleged in the

Complaint and denies all allegations made by the United States. However, to avoid the necessity

of litigation among the parties, Meta has agreed to the terms of the Settlement Agreement, which

is a comprehensive resolution of the United States’ allegations and reflects extensive cooperation

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between the parties in their years’ long negotiations. The Settlement Agreement is for settlement

purposes only and does not constitute an admission by Meta of any of the allegations contained

in the HUD Charge or the Complaint, nor does it constitute any finding of liability against Meta.

II.         The Proposed Settlement Agreement

          The proposed Settlement Agreement is designed to remedy what the United States alleges

to be discrimination on the basis of protected characteristics in delivery of housing

advertisements. Among other injunctive provisions:

      •   Meta will build a Variance Reduction System (“VRS”) for Housing Advertisements to
          reduce variances in Ad Impressions between Eligible Audiences and Actual Audiences,
          as those terms are defined in the proposed Settlement Agreement, for sex and estimated
          race/ethnicity, that the United States alleges are introduced by Meta’s ad delivery system.
          (Settlement Agreement ¶ 10.)

      •   If, by December 16, 2022, the parties agree on metrics for how much the VRS will
          reduce any variances in Ad Impressions between Eligible Audiences and Actual
          Audiences for sex and estimated race/ethnicity that the United States alleges are
          introduced by Meta’s ad delivery system, Meta will fully implement the VRS by
          December 31, 2022. (Settlement Agreement ¶ 10.) The parties will then agree on an
          independent third-party reviewer, who will verify periodic reports submitted by Meta
          about whether the VRS is meeting the agreed-upon compliance metrics. (Settlement
          Agreement ¶¶ 17-18.) Any dispute between Meta and the reviewer about access to
          information that the reviewer deems necessary to verify that the VRS is meeting the
          agreed-upon compliance metrics will be adjudicated by the Court. If Meta is out of
          compliance with the agreed-upon compliance metrics, the parties may seek Court
          intervention. If the parties do not agree on compliance metrics, the Settlement Agreement
          will terminate on December 31, 2022, and the parties will return to the positions they
          occupied prior to filing of the suit. (Settlement Agreement ¶¶ 3.b., 4.)

      •   No targeting options that Meta determines are direct descriptors of, or semantically or
          conceptually related to, a person or group of people based on FHA-protected
          characteristics are available in Housing Ad Flows, which are interfaces that advertisers
          use to create Housing Advertisements for publication on Meta Platforms; Meta will
          notify the United States if it intends to add any targeting options to Housing Ad Flows;
          and the parties will subject any dispute regarding potential new targeting options to the
          jurisdiction of the Court. (Settlement Agreement ¶¶ 3.f, 9, 25-27, 34.)

      •   By December 31, 2022, Meta will no longer deliver Housing Advertisements that are
          targeted using the Special Ad Audience tool, and will not make the Special Ad Audience

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       tool or the Lookalike Audience tool available for use in Housing Ad Flows. (Settlement
       Agreement ¶ 9.c.)

Finally, the Settlement Agreement requires Meta to pay the maximum civil penalty under the

Fair Housing Act, in the amount of $115,054, pursuant to 42 U.S.C. § 3614(d)(1)(C)(i) as

modified by 28 C.F.R. § 85.5 (effective May 9, 2022). (Settlement Agreement ¶ 15.)

                                          ARGUMENT

I.     The Standard for Approval of a Proposed Settlement Agreement

       The Second Circuit has held that a court should approve a consent decree or settlement

agreement resolving civil enforcement claims where it is “fair and reasonable” and “the public

interest would not be disserved” by the injunctive relief contained therein. S.E.C. v. Citigroup

Glob. Mkts., Inc., 752 F.3d 285, 294 (2d Cir. 2014) (internal quotation marks omitted); see also

U.S. Equal Emp. Opportunity Comm’n v. Int’l Ass’n of Bridge Structural & Ornamental

Ironworkers Loc. 580, No. 71-CV-02877 (LAK), 2021 WL 5920234, at *1 (S.D.N.Y. Dec. 15,

2021) (applying Citigroup standard in Title VII case); United States v. JP Morgan Chase Bank,

No. 17-CV-347 (AJN), at ECF Dkt. No. 7 (S.D.N.Y. Jan. 20, 2017) (applying Citigroup standard

in FHA case); S.E.C. v. Caledonian Bank Ltd., 317 F.R.D. 358, 369 (S.D.N.Y. 2016) (applying

Citigroup standard to proposed settlement of SEC enforcement action); Tronox Inc. v. Anadarko

Petroleum Corp. (In re Tronox Inc.), No. 14-CV-5495 (KBF), 2014 WL 5825308, at *8-9

(S.D.N.Y. Nov. 10, 2014) (applying Citigroup standard in environmental enforcement case);

United States v. IBM Corp., No. 14-CV-936 (KMK), 2014 WL 3057960, at *1-*5 (S.D.N.Y. July

7, 2014) (same), order clarified, 2014 WL 4626010 (S.D.N.Y. Aug. 7, 2014).

       Consensual resolutions of FHA cases are “highly favored.” See Jones v. Amalgamated

Warbasse Houses, Inc., 97 F.R.D. 355, 358-59 (E.D.N.Y. 1982); see also Durrett v. Hous. Auth.,

896 F.2d 600, 604 (1st Cir. 1990) (recognizing “a clear policy in favor of [ ] settlements” in FHA
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cases). In light of the policy favoring settlement in FHA cases, judicial review of a proposed

settlement agreement does not entail an inquiry “into the precise legal rights of the parties” or

resolving “the merits of the claims or controversy.” Metro. Hous. Dev. Corp. v. Village of

Arlington Heights, 616 F.2d 1006, 1014 (7th Cir. 1980).

        In assessing whether a settlement is “fair and reasonable,” the Court should consider at

least four factors:

        (1) the basic legality of the decree; (2) whether the terms of the decree, including
        its enforcement mechanism, are clear; (3) whether the consent decree reflects a
        resolution of the actual claims in the complaint; and (4) whether the consent
        decree is tainted by improper collusion or corruption of some kind.

Citigroup, 752 F.3d at 294-95 (internal citations omitted). “The primary focus of the inquiry . . .

should be on ensuring the [agreement] is procedurally proper, . . . taking care not to infringe on

[the Government’s] discretionary authority to settle on a particular set of terms.” Id. at 295;

accord Tronox, 2014 WL 5825308, at *8; IBM Corp., 2014 WL 3057960, at *2. Where, as in

this case, the settlement agreement provides for injunctive relief, the Court must additionally

make sure that the “‘public interest would not be disserved’ by the issuance of [the] permanent

injunction.” Citigroup, 752 F.3d at 294 (quoting eBay, Inc. v. MercExchange, 547 U.S. 388, 391

(2006)). In considering whether the injunction disserves the public interest, the Court should not

intrude on the Government’s “decisions on discretionary matters of policy.” Id. at 297.

        Both the “fair and reasonable” test and the “public interest” test are deferential

approaches that reflect the “‘strong federal policy favoring the approval and enforcement of

consent decrees.’” Id. at 293 (quoting S.E.C. v. Wang, 944 F.2d 80, 85 (2d Cir. 1991)). “Absent a

substantial basis in the record for concluding that the proposed consent decree does not meet [the

“fair and reasonable” and public interest] requirements, the district court is required to enter the

order.” Id. at 294; accord Tronox, 2014 WL 5825308, at *8.
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II.    The Settlement Agreement Is Fair and Reasonable, and Its Injunctive Relief Is in
       the Public Interest

       The four factors identified in Citigroup for determining whether a settlement is fair and

reasonable are each satisfied here. First, there is no dispute as to the agreement’s “basic legality.”

Citigroup, 752 F.3d at 294. An agreement “satisfies this factor so long as it is within the Court’s

authority to enter the decree and within [the Government’s] authority to enforce it.” IBM Corp.,

2014 WL 3057960, at *2; accord Tronox, 2014 WL 5825308, at *9. Here, the Court has

authority to enter the Settlement Agreement pursuant to the FHA, which authorizes injunctive

relief and civil penalties, and the United States has authority to seek relief pursuant to those

provisions.

       The second factor identified in Citigroup—“whether the terms of the decree, including its

enforcement mechanism, are clear,” 752 F.3d at 295—is likewise satisfied. The key terms of the

Settlement Agreement are straightforward. See Tronox, 2014 WL 5825308, at *9 (“[T]he terms

of the decree, and its enforcement mechanism, are clearly stated in the Settlement Agreement”);

IBM Corp., 2014 WL 3057960, at *3 (“By ‘clear,’ the Second Circuit appears to mean that the

decree properly defines its key provisions.” (internal quotation marks omitted)). Meta’s

obligations to change its ad delivery system and to pay a civil penalty are clearly defined in the

Settlement Agreement, as are dispute resolution procedures, and other relevant provisions, as

detailed above.

       The third factor—“whether the consent decree reflects a resolution of the actual claims in

the complaint,” Citigroup, 752 F.3d at 295—is also met here. The Complaint asserts claims for

injunctive relief and civil penalties for alleged violations of the FHA. The Settlement Agreement

expressly resolves these claims. See Settlement Agreement ¶ 28 (“As of the VRS Implementation

Date, the United States shall be deemed to have fully, finally, and forever released Meta . . . from
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any and all claims, charges, obligations, rights, demands, liability, action, or cause of action

under the FHA arising out of or related to the allegations in the HUD Charge and/or the

Complaint, that the United States had or may have had as of the Effective Date . . . .”).

Accordingly, there can be no dispute that the actual claims brought by the United States are

being settled by the Settlement Agreement. See Tronox, 2014 WL 5825308, at *9 (finding that

settlement expressly resolved all claims asserted in the complaint, along with related

environmental matters); IBM Corp., 2014 WL 3057960, at *3 (finding that where settlement

provided relief sought by the complaint, the settlement agreement satisfied third Citigroup

factor).

           The fourth factor—“whether the [agreement] is tainted by improper collusion or

corruption of some kind,” Citigroup, 752 F.3d at 295—is not an issue here. This settlement is the

result of a lengthy, arm’s-length negotiation between parties represented by experienced counsel,

and there is nothing to suggest that improper collusion or corruption of any kind tainted the

negotiation process in this case. To the contrary, that the Settlement Agreement includes

significant changes to Meta’s ad delivery system, as well as the maximum civil penalty,

underscores the arm’s-length nature of the settlement process.

           Finally, the injunctive relief in the Settlement Agreement does not disserve the public

interest. As described above, the Settlement Agreement includes a series of injunctive

requirements that are designed to address what the United States alleges to be discrimination in

the delivery of housing ads. This injunctive relief is well-targeted to address the allegations of

the Complaint.




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                                          CONCLUSION

         For all of the foregoing reasons, the parties respectfully request that the Court approve

the proposed Settlement Agreement.

Dated:          New York, New York
                June 21, 2022

FOR THE UNITED STATES OF AMERICA:

                                                       DAMIAN WILLIAMS
                                                       United States Attorney for the
                                                       Southern District of New York
                                                       Attorney for the United States of America

                                               By:             /s/ Ellen Blain
                                                       ELLEN BLAIN
                                                       DAVID J. KENNEDY
                                                       CHRISTINE S. POSCABLO
                                                       Assistant United States Attorneys
                                                       86 Chambers Street, 3rd Floor
                                                       New York, New York 10007
                                                       Tel.: (212) 637-2733
                                                       Fax: (212) 637-0033
                                                       david.kennedy2@usdoj.gov

FOR META PLATFORMS, INC.,
f/k/a FACEBOOK, INC.:
                                                       Natalie Naugle
                                                       Director and Associate General Counsel,
                                                       Litigation
                                                       META PLATFORMS, INC.
                                                       181 Fremont Street
                                                       San Francisco, CA 94105
                                                       nnaugle@fb.com

                                               By:             /s/ Rosemarie T. Ring
                                                       Rosemarie T. Ring
                                                       GIBSON, DUNN & CRUTCHER LLP
                                                       555 Mission Street
                                                       San Francisco, CA 94105
                                                       Tel.: (415) 393-8247
                                                       rring@gibsondunn.com
                                                       Counsel for Meta Platforms, Inc.

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